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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

                           Civil Action No. 3:13−cv−00217
                            Adams et al v. Livingston et al

                       ORDER FOR CONFERENCE AND
                    DISCLOSURE OF INTERESTED PARTIES

1.   Counsel and all parties appearing pro se shall appear for an initial pretrial and
     scheduling conference before
                                     Judge Gregg Costa
                            on September 18, 2013 at 10:15 AM
                                at United States Courthouse
                                   Sixth Floor Courtroom
                                    601 Rosenberg Street
                                   Galveston, TX 77550


2.   Counsel shall file with the clerk within fifteen days from receipt of this order a
     certificate listing all persons, associations of persons, firms, partnerships,
     corporations, affiliates, parent corporations, or other entities that are financially
     interested in the outcome of this litigation. If a group can be specified by a
     general description, individual listing is not necessary. Underline the name of
     each corporation whose securities are publicly traded . If new parties are added or
     if additional persons or entities that are financially interested in the outcome of
     the litigation are identified at any time during the pendency of this litigation, then
     each counsel shall promptly file an amended certificate with the clerk.

3.   After the parties confer as required by Fed. R. Civ. P. 26(f), counsel and all
     parties appearing pro se shall prepare and file not less than 10 days before the
     conference a joint discovery/case management plan containing the information
     required on the attached form.

4.   The Court will enter a Docket Control Order and may rule on any pending
     motions at the conference. Counsel should be prepared to argue all pending
     motions at the conference and at any subsequent hearings in the case.

5.   Counsel and all parties appearing pro se who file or remove an action must serve
     a copy of this order with the summons and complaint or with the notice of
     removal.

6.   Attendance by an attorney who has authority to bind each represented party is
     required at the conference.
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7.    Counsel must discuss with their clients and opposing counsel how electronically
      stored information will be produced in discovery and when alternative dispute
      resolution procedure will be appropriate in this case, and shall advise the Court
      of the results of these discussions at the conference.

8.    Discovery may be conducted prior to the Initial Pretrial Conference if all name
      defendants have answered.

9.    Counsel will deliver to chambers copies of all instruments filed electronically
      that exceed 20 pages.

10.   Failure to comply with this order may result in sanctions, including dismissal of
      the action and assessment of fees and costs.

                                                               By Order of the Court
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            GALVESTON DIVISION


Ashley Adams, et al.
                               Plaintiff

v.                                                       Civil Action No. 3:13−cv−00217
                                                                       Judge Gregg Costa

Brad Livingston , et al.
                               Defendant

               JOINT DISCOVERY/CASE MANAGEMENT PLAN
                           UNDER RULE 26(f)
                  FEDERAL RULES OF CIVIL PROCEDURE

      Please restate the instruction before furnishing the information.

1.    State where and when the meeting of the parties required by Rule 26(f) was held,
      and identify the counsel who attended for each party.

2.    List the cases related to this one that are pending in any state or federal court
      with the case number and court.

3.    Describe what this case is about.

4.    Specify the allegations of federal jurisdiction.

5.    Name the parties who disagree and the reasons.

6.    List anticipated additional parties that should be included, when they can be
      added, and by whom they are wanted.

7.    List anticipated interventions.

8.    Describe any class−action issues.

9.    State whether each party represents that it has made the initial disclosures
      required by Rule 26(a). If not, describe the arrangements that have been made to
      complete the disclosures.

10.   State the date the planned discovery can reasonably be completed.

11.   Discuss any discovery issues that may require the Court's attention.
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12.   Describe the possibilities for a prompt settlement or resolution of the case that
      were discussed in your Rule 26(f) meeting.

13.   Magistrate judges may now hear jury and non−jury trials. Indicate the parties'
      joint position on a trial before a magistrate judge.

14.   State whether a jury demand has been made and if it was made on time.

15.   Specify the number of hours it will take to present the evidence in this case.

16.   Indicate any other issues that deserve the special attention of the Court at the
      conference.

17.   List the names, bar numbers, addresses, and telephone numbers of all counsel.




____________________________________            ______________________________
Counsel for Plaintiff(s)                         Date




____________________________________            ______________________________
Counsel for Defendant(s)                         Date
